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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                               Chapter 7

MYINT KYAW a/k/a JEFFREY WU,                                         Case No.: 8-20-72407-reg

                                    Debtor.
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                STIPULATION AND ORDER RESPECTING DISTRIBUTIONS
                              FROM GTJ REALTY LP

         WHEREAS, on July 8, 2020 (“Filing Date”), Myint Kyaw a/k/a Jeffrey Wu (“Debtor”)

filed a voluntary petition for relief pursuant to Chapter 11 of title 11 of the United States Code

in the United States Bankruptcy Court for the Eastern District of New York (“Court”);

         WHEREAS, as of the Filing Date, the Debtor was the 100% owner and sole member of

VWU888 LLC (“VWU888”) which, in turn, was the record owner of certain limited partner units

in GTJ Realty LP (collectively, “LP Units”);

         WHEREAS, by Order dated September 17, 2021 [ECF No. 271], the Court approved the

appointment of Lori Lapin Jones, Esq. as Chapter 11 Trustee for the Debtor (“Chapter 11

Trustee”);

         WHEREAS, pursuant to an Order dated April 6, 2022 (“ZBC Settlement Order”) [ECF

No. 396], the Court approved a stipulation among, inter alia, the Chapter 11 Trustee, VWU888,

the Debtor and Zee Bridge Capital, LLC (“ZBC”) respecting the LP Units and ZBC’s secured

claim;

         WHEREAS, in accordance with the ZBC Settlement Order, 50% of distributions from

GTJ Realty LP on account of the LP Units were remitted by ZBC to the Chapter 11 Trustee (and

then the Chapter 7 Trustee (as defined below)) until ZBC was paid in full;
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          WHEREAS, pursuant to an Order dated July 6, 2022 [ECF No. 456], the Court converted

the Debtor’s Chapter 11 case to a Chapter 7 case;

          WHEREAS, Lori Lapin Jones, Esq. was appointed as Chapter 7 Trustee for the Debtor

[ECF No. 457] and, by operation of law, Lori Lapin Jones, Esq. is the permanent Chapter 7

Trustee of the Debtor’s estate (“Chapter 7 Trustee”);

          WHEREAS, pursuant to an Order dated October 6, 2022 (“Redemption Order”) [ECF

No. 552], the Court approved, inter alia, an initial redemption of certain of the LP Units and the

payment of the proceeds to the Chapter 7 Trustee, and authorized the Trustee’s payment and

satisfaction of the allowed secured claim of ZBC from the proceeds in accordance with the ZBC

Settlement Order;

          WHEREAS, the redemption closed on November 16, 2022 and, in accordance with the

Redemption Order, the proceeds were paid to the Chapter 7 Trustee and the Chapter 7 Trustee

paid and satisfied the allowed secured claim of ZBC;

          WHEREAS, the Redemption Order also authorized the Chapter 7 Trustee to take all

steps necessary in connection with the dissolution of VWU888, and that process has begun; and

          WHEREAS, GTJ Realty LP is prepared to make a quarterly distribution on account of

the remaining LP Units. GTJ Realty LP has informed the Chapter 7 Trustee that it requires an

Order of the Court to make the distribution to the Chapter 7 Trustee on behalf of the Debtor’s

estate.

          NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the Chapter 7

Trustee and VWU888 as follows:

          1.     VWU888 hereby consents to, authorizes and directs the payment of all

distributions from GTJ Realty LP on account of the LP Units to the Chapter 7 Trustee on behalf
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of the Debtor’s estate.

       2.      The undersigned represent and warrant that they have full authority to execute this

Stipulation and Order on behalf of their respective client and have obtained all necessary

approvals.

       3.      This Stipulation and Order may be executed in one or more counterparts, including

by facsimile and/or electronic mail, each of which shall be deemed an original, but all of which

together constitute one and the same instrument.

       4.      The Court shall retain exclusive jurisdiction over the subject matter of this

Stipulation and Order.

Dated: January 30, 2023               LaMONICA HERBST & MANISCALCO, LLP
                                      Counsel to Lori Lapin Jones, Esq., Chapter 7 Trustee

                              By:     s/ Holly R. Holecek
                                      Holly R. Holecek, Esq.
                                      A Partner of the Firm
                                      3305 Jerusalem Avenue, Suite 201
                                      Wantagh, New York 11793
                                      Telephone: (516) 826-6500

Dated: January 30, 2023               VWU888, LLC

                              By:     s/ Myint Kyaw
                                      Myint Kyaw a/k/a Jeffrey Wu, sole
                                      and managing member

Dated: January ____, 2023
                                      s/ Christopher Bryan
                                      Christopher Bryan
                                      Independent Manager of VWU888, LLC
IT IS SO ORDERED.



 Dated: Central Islip, New York                                 ____________________________
        February 1, 2023                                              Robert E. Grossman
                                                                 United States Bankruptcy Judge
